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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. ________________________

 ROBERT TAYLOR, individually and
 on behalf of all others similarly situated,

            Plaintiff,

 v.

 DHL EXPRESS (USA), INC.,

       Defendant.
 ______________________________________/

                              DEFENDANT’S NOTICE OF REMOVAL

            Defendant DHL EXPRESS (USA), INC. (“Defendant” or “DHL”), by and through its

 undersigned counsel and pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, hereby notices the

 removal of the above titled action from the Circuit Court of the Seventeenth Judicial Circuit in and

 for Broward County, Florida, Case No. CACE-21-019444 (the “State Court Action”) to the

 United States District Court for the Southern District of Florida. In support, Defendant states as

 follows:

 I.         INTRODUCTION

            1.      On October 25, 2021, Plaintiff Robert Taylor (“Plaintiff”) filed his Class Action

 Complaint (the “Complaint”) against Defendant in the Circuit Court for the Seventeenth Judicial

 Circuit in and for Broward County, Florida, asserting a single cause of action for alleged violations

 of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (the “TCPA”), a federal

 statute.




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          2.    On November 2, 2021, Defendant was served with process. A true and correct copy

 of the Return/Affidavit of Service showing the date of service for Defendant is attached hereto as

 Exhibit A.

          3.    In accordance with 28 U.S.C. § 1446(a), copies of the process, pleadings, orders,

 all other papers or exhibits of any kind, and the docket in the State Court Action are attached hereto

 as Composite Exhibit B.

          4.    Defendant timely filed this Notice of Removal within thirty (30) days of the date

 of service of process.

          5.    Defendant is entitled to remove the State Court Action to this Court pursuant to 28

 U.S.C. §§ 1331, 1441 and 1446 because the Court has original jurisdiction over all claims and

 actions arising under the “Constitution, laws or treaties of the United States,” and the TCPA is a

 federal statute. Thus, removal is proper. Duran v. Wells Fargo Bank, N.A., 878 F. Supp. 2d 1312,

 1315–16 (S.D. Fla. 2012) (“This action was removed to this Court based on federal question

 jurisdiction, 28 U.S.C. § 1331, because the Complaint alleges a violation of the TCPA. . . . It is

 established that federal courts have subject matter jurisdiction over TCPA claims.”) (internal

 citations omitted).

          6.    Defendant is removing the State Court Action to the Southern District of Florida,

 Fort Lauderdale Division, because it is the venue “embracing the place where such action is

 pending,” i.e., the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County,

 Florida. See 28 U.S.C. § 1441(a).

          7.    Concurrent with the filing of this Notice of Removal and in accordance with 28

 U.S.C. § 1446(d), Defendant filed a true and correct copy of its Notice of Removal with the Clerk




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 of the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County, Florida.

 Defendant also served a copy on Plaintiff’s counsel.

          8.    As set forth herein and below, Defendant has met and satisfied all procedural

 requirements for removal.

 II.      NATURE OF THE CASE

          9.    In its Complaint in the State Court Action, Plaintiff asserts one claim, asserting a

 violation of the “Internal Do Not Call” provisions of the TCPA.

          10.   Specifically, Plaintiff alleges that on or about March 29, 2021, Defendant “began

 sending unsolicited text messages to Plaintiff’s cellular telephone number,” and upon receipt of

 the first message, “Plaintiff responded with the word ‘Stop’ in an attempt to opt-out of any further

 text message communications with Defendant.” See Compl., ¶¶ 10-11. Plaintiff further asserts

 that “after sending his stop request,” Defendant sent additional messages to Plaintiff. Id., ¶ 13.

          11.   Plaintiff asserts that the facts alleged in the Complaint give rise to a violation of 47

 C.F.R. § 64.1200(d) and 47 U.S.C. § 227(c)(5).

          12.   The Complaint further alleges that “Defendant’s text messages and phone calls1

 caused Plaintiff actual harm, including invasion of his privacy, aggravation, annoyance, intrusion

 on seclusion, trespass, and conversion,” and “inconvenienced Plaintiff and caused disruption to

 his daily life.” See Compl., ¶ 26.

          13.   Plaintiff seeks, inter alia, to certify a class of persons who “were sent a text message

 or call from Defendant… after making a request to Defendant not to receive future text messages.”

 Id., ¶ 27.




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        While Plaintiff purports to allege the receipt of phone calls from Defendant, no facts
 surrounding same are alleged.

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 III.     LEGAL GROUNDS FOR REMOVAL

          14.    Federal question jurisdiction exists here.

          15.    Plaintiff’s Complaint is, on its face, brought pursuant to a federal statute and federal

 regulations, as it alleges violations of the TCPA and its concomitant regulations based on

 Defendants’ purported failure to stop sending text messages and making calls to Plaintiff after he

 allegedly asked for them to stop.

          16.    Federal question jurisdiction is governed by the “well-pleaded complaint rule,” and

 federal jurisdiction exists when a federal question is presented on the face of a plaintiff's complaint.

 See Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987). “[T]he Court must look at the

 plaintiff’s complaint at the time of removal.” Gables Ins. Recovery v. United Healthcare Ins. Co.,

 39 F. Supp. 3d 1377, 1383 (S.D. Fla. 2013); accord Herman v. Hartford Life & Acc. Ins. Co., No.

 10-61661-CIV, 2011 WL 1458050, *2 (S.D. Fla. Apr. 15, 2011).

          17.    It is undisputed that the TCPA, a federal statute, creates Plaintiff’s alleged claim.

 A suit arises under the law that creates the cause of action. Mims v. Arrow Financial Services,

 LLC, 565 U.S. 368, 377 (2012).

          18.    As a result, Plaintiff’s TCPA claim arises under the laws of the United States within

 the meaning of 28 U.S.C. §1331 and this Court has original jurisdiction pursuant to 28 U.S.C.

 §1331. Id. at 372.

          19.    Removal of this putative TCPA class action is proper, and this Court has

 jurisdiction pursuant to 28 U.S.C. §1441(a). See Mims, 565 U.S. at 386; Duran v. Wells Fargo

 Bank, N.A., 878 F. Supp. 2d 1312, 1315-16 (S.D. Fla. 2012).




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 IV.      PRESERVATION OF RIGHTS

          20.     By virtue of this Notice of Removal and the Notice filed in the State Court Action,

 Defendant does not waive its rights to assert any defenses, including but not limited to, personal

 jurisdictional and venue defenses, the legal sufficiency of the claims alleged in the State Court

 Action, or any other motions including but not limited to, Rule 12 motions, motions to compel

 arbitration, or both, as otherwise permitted by the Federal Rules of Civil Procedure and/or

 governing law.

 V.       CONCLUSION

          WHEREFORE, Defendant DHL removes this action from the Seventeenth Judicial Circuit

 in and for Broward County, Florida, to this Court, and respectfully requests that this Court assume

 full jurisdiction over this case, action and all causes and defenses herein, as provided by law.

 Dated: November 19, 2021.                      Respectfully submitted,

                                                /s/ Jeffrey B. Pertnoy
                                                Jeffrey B. Pertnoy, Esq.
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                                                Counsel for Defendant




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 19, 2021, a true and correct copy of Defendant’s Notice

 of Removal was served via e-mail upon Plaintiff’s counsel of record in the State Court Action:

          Andrew Shamis, Esq. Ashamis@shamisgentile.com
          Garrett Berg, Esq. gberg@shamisgentile.com
          Scott Edelsberg, Esq. scott@edelsberglaw.com

                                               /s/ Jeffrey B. Pertnoy
                                               Attorney




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